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JMK/TD/MSA
F. #2017R01243

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA

                 - against -                             Docket No. 17–CR-464 (JS)

MURIEL BESCOND,

                            Defendant.

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      MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S MOTION TO
       DISMISS THE INDICTMENT BASED ON IMPERMISSIBLE SELECTIVE
                            PROSECUTION




                                                       RICHARD P. DONOGHUE
                                                       UNITED STATES ATTORNEY
                                                       Eastern District of New York
                                                       271 Cadman Plaza East
                                                       Brooklyn, New York 11201




Timothy A. Duree
Trial Attorney

Matthew S. Amatruda
Assistant U.S. Attorney
(Of Counsel)
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                                PRELIMINARY STATMENT

              The government respectfully submits this memorandum of law in opposition

to the Defendant Muriel Bescond’s Motion to Dismiss the Indictment Based on

Impermissible Selective Prosecution. ECF No. 12. The instant motion represents the

defendant’s second motion to dismiss despite being a fugitive and never having made an

appearance in the case. As with her first motion, the defendant’s current motion is

procedurally improper and substantively meritless, and should be denied.

                                       BACKGROUND

              On August 24, 2017, the government filed an indictment against the defendant

and her co-defendant Danielle Sindzingre charging one count of conspiracy to commit

commodities fraud, in violation of 18 U.S.C. § 371, for her role in orchestrating a scheme to

manipulate her employer Societe Generale’s submissions for the London Interbank Offering

Rate (“LIBOR”), a reference interest rate used in financial instruments worldwide. The

indictment came after a long investigation, and the defendant was made immediately aware

of the charges against her. Nonetheless, the defendant has elected to remain in her native

France, where she is protected from extradition, rather than come to the United States to face

the charges. See Extradition Treaty, U.S.-Fr, Apr. 23, 1997, at 5 (France does not extradite

its own citizens, as “there is no obligation upon the Requested State to grant the extradition

of a person who is a national of the Requested State”).

                                        DISCUSSION

              Despite remaining a fugitive, the defendant has filed the instant motion

seeking to dismiss the indictment on the grounds that it was the result of selective



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prosecution based on her gender. The defendant’s motion is procedurally improper and

substantively meritless, and should be denied.

              As a matter of procedure, the fugitive disentitlement doctrine, addressed in

detail in the government’s June 29, 2018 opposition to the defendant’s first motion to

dismiss, see ECF No. 10 at 3-9, precludes her from receiving consideration of any motion

until she appears in the Eastern District of New York. See, e.g., Molinaro v. New Jersey,

396 U.S. 365, 366 (1970) (fugitive status “disentitles the defendant to call upon the resources

of the Court for determination of his claims”). The Court should therefore deny the instant

motion on the fugitive disentitlement doctrine alone.

              The defendant’s motion should also be denied because it is substantively

meritless. Based only on speculation and the fact that she and her co-defendant happen to be

women, the defendant asserts that she has been selectively prosecuted because of her gender.

see ECF No. 12-1 at 11-16. The defendant’s empty assertions are completely unavailing.

              To establish a credible defense of selective prosecution, a defendant must first

make out a prima facie basis for the claim. That is, a defendant must show that: (1) she was

“singled out” such that “others similarly situated have not been proceeded against;” and

(2) “the government’s discriminatory selection . . . has been invidious or in bad faith.”

United States v. Fares, 978 F.2d 52, 59 (2d Cir. 1992). The defendant cannot make this

showing here. Indeed, she offers no evidence to support her claim other than the fact that

both defendants in the instant case are women, while male colleagues were not charged.

Such evidence and conjecture fall far short of the showing necessary to make out a prima

facie case of selective prosecution.



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               Furthermore, even if the defendant could make out a prima facie showing,

which she cannot, the law is clear that “so long as the prosecutor has probable cause to

believe that the accused committed an offense defined by statute, the decision whether or not

to prosecute, and what charge to file or bring before a grand jury, generally rests entirely in

his discretion.” United States v. Armstrong, 517 U.S. 456, 464 (1996) (internal quotation

omitted). To overcome the prosecutor’s discretion and establish a constitutional violation

based on selective prosecution, a defendant must show that the government’s actions were

aimed “so exclusively against a particular class of persons with a mind so unequal and

oppressive that the system of prosecution amounts to a practical denial of equal protection of

the law.” Id. at 464-65 (internal quotations omitted). Here, the government has acted in a

wholly gender-neutral manner, and the defendant has been prosecuted for the uncontroversial

reason that the government has proof beyond a reasonable doubt that she committed a crime

in violation of United States law.

               In fact, the government has conducted multiple investigations into LIBOR

misconduct and brought criminal charges against numerous employees at several global

banks who, like the defendant, conspired to falsify LIBOR submissions. See, e.g., United

States v. Connolly, 16-CR-370-CM (May 31, 2016); United States v. Allen, 14-CR-272-JSR

(S.D.N.Y. Oct. 16, 2014). In total, eighteen individuals have been charged, of which sixteen

are men and the defendant and her co-defendant are the only women. Thus, where

appropriate, the government has not hesitated to charge men with engaging in criminal

LIBOR manipulation.




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              Because the defendant offers no evidence to support her claim other than the

bare fact that she was charged, and her allegations do not establish that the government acted

in an “unequal and oppressive” manner, her motion should be denied.

                                       CONCLUSION

              For the foregoing reasons, the defendant’s motion should be denied.


Dated:    Central Islip, New York
          July 20, 2018




                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  UNITED STATES ATTORNEY
                                                  Eastern District of New York
                                                  271 Cadman Plaza East
                                                  Brooklyn, New York 11201


                                           By:    /s/ Timothy A. Duree
                                                  Timothy A. Duree
                                                  Trial Attorney
                                                  United States Department of Justice
                                                  Criminal Division, Fraud Section
                                                  (202) 616-2660

                                                  Matthew S. Amatruda
                                                  Assistant United States Attorney
                                                  (718) 254-7012




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                              CERTIFICATE OF SERVICE

      I, Timothy A. Duree, hereby certify that on this 20th day of July, 2018, I caused a

copy of this Memorandum of Law in Opposition to Defendant’s Motion to Dismiss the

Indictment Based on Improper Selective Prosecution to be served on Laurence Shtasel and

Laurent Cohen-Tanugi, attorneys for Defendant Muriel Bescond, by filing this document via

the CM/ECF electronic filing system.



                                                 /s/ Timothy A. Duree
                                                 Timothy A. Duree
